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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/891140385" data-vids="891140385" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;486 P.3d 1154&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-party"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-name"&gt;The PEOPLE of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Elmo Jesse JOHNSON&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Supreme Court Case No. 20SC6 &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;May 24, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="160" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="160" data-sentence-id="160" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Philip J. Weiser&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;William G. Kozeliski&lt;/span&gt;&lt;/span&gt;, Senior Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="295" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="295" data-sentence-id="295" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Megan A. Ring&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Stephen C. Arvin&lt;/span&gt;&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;State &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;h2 class="ldml-opinionheading"&gt;&lt;span data-paragraph-id="417" class="ldml-paragraph "&gt;&lt;span class="ldml-judgepanel"&gt;&lt;span data-paragraph-id="417" data-sentence-id="417" class="ldml-sentence"&gt;En Banc&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/h2&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="424" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (BERKENKOTTER)"&gt;&lt;span data-paragraph-id="424" data-sentence-id="424" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BERKENKOTTER&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="480" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="480" data-sentence-id="480" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_480"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; review &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;' split &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_480" data-refglobal="case:peoplevjohnson,2019coa159"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Johnson&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2019 COA 159&lt;/span&gt;, &lt;span class="ldml-cite"&gt;––– P.3d ––––&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, reversing &lt;span class="ldml-entity"&gt;Elmo Johnson&lt;/span&gt;'s conviction for first degree murder and remanding &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; for a new trial based on the division's determination that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; violated Johnson's right to present a complete defense.&lt;/span&gt; &lt;span data-paragraph-id="480" data-sentence-id="795" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; consider, as a matter of first impression, whether the impeachment exception to the exclusionary rule extends to &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s truthful testimony that could mislead a jury.&lt;a href="#note-fr1" class="ldml-noteanchor" id="note-ref-fr1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="480" data-sentence-id="971" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; may offer truthful, albeit potentially incomplete, evidence without opening the door to previously suppressed evidence.&lt;/span&gt; &lt;span data-paragraph-id="480" data-sentence-id="1116" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_1176" data-parsed="true" data-types="background" data-format="upper_case_roman_numeral" data-content-heading-label="I. Facts and Procedural History" data-specifier="I" data-confidences="very_high" data-ordinal_end="1" id="heading_1176" data-ordinal_start="1" data-value="I. Facts and Procedural History"&gt;&lt;span data-paragraph-id="1176" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="1176" data-sentence-id="1176" class="ldml-sentence"&gt;I.&lt;/span&gt; &lt;span data-paragraph-id="1176" data-sentence-id="1179" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="1207" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1207" data-sentence-id="1207" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1207"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Johnson lived in an apartment with his &lt;span class="ldml-entity"&gt;sister&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Toni Carrethers&lt;/span&gt;, and Carrethers's husband.&lt;/span&gt; &lt;span data-paragraph-id="1207" data-sentence-id="1300" class="ldml-sentence"&gt;One night, Johnson's girlfriend, &lt;span class="ldml-entity"&gt;Danielle Griego&lt;/span&gt;, stayed at the apartment and was shot and killed.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1398" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1398" data-sentence-id="1398" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1398"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The next day, Griego's &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; discovered Griego's body on a couch in the apartment.&lt;/span&gt; &lt;span data-paragraph-id="1398" data-sentence-id="1485" class="ldml-sentence"&gt;Johnson was laying next to Griego, unconscious due to his consumption of alcohol and drugs.&lt;/span&gt; &lt;span data-paragraph-id="1398" data-sentence-id="1577" class="ldml-sentence"&gt;Griego's &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; called 911.&lt;/span&gt; &lt;span data-paragraph-id="1398" data-sentence-id="1605" class="ldml-sentence"&gt;Before police officers arrived, Carrethers picked up two shell casings that were near Griego's body, rinsed them, returned them to where &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had found them, and then washed her hands.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1788" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1788" data-sentence-id="1788" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1788"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Johnson was transported to the hospital, where officers collected swabs from his hands and face while &lt;span class="ldml-entity"&gt;he&lt;/span&gt; remained unconscious.&lt;/span&gt; &lt;span data-paragraph-id="1788" data-sentence-id="1918" class="ldml-sentence"&gt;These swabs tested positive for gunshot residue &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"GSR"&lt;/span&gt;)&lt;/span&gt;, as did swabs the police subsequently collected from Carrethers and Griego's &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1788" data-sentence-id="2059" class="ldml-sentence"&gt;After &lt;span class="ldml-entity"&gt;he&lt;/span&gt; regained consciousness, Johnson denied killing Griego.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2122" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="2122" data-sentence-id="2122" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2122"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As pertinent here, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; charged Johnson with first degree murder.&lt;/span&gt; &lt;span data-paragraph-id="2122" data-sentence-id="2202" class="ldml-sentence"&gt;Before trial, Johnson moved to suppress the GSR evidence that the officers collected from his hands and face at the hospital without a warrant.&lt;/span&gt; &lt;span data-paragraph-id="2122" data-sentence-id="2346" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; granted Johnson's motion concerning the GSR evidence.&lt;/span&gt; &lt;span data-paragraph-id="2122" data-sentence-id="2416" class="ldml-sentence"&gt;In ruling, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; noted that it would not allow Johnson &lt;span class="ldml-quotation quote"&gt;"to use the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2416"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; as both a shield and a sword."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="2122" data-sentence-id="2541" class="ldml-sentence"&gt;Concerned that Johnson may &lt;span class="ldml-quotation quote"&gt;"mislead&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; the jury into believing that ... &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;he&lt;/span&gt;]&lt;/span&gt; was never tested or &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was not positive"&lt;/span&gt; for GSR, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; indicated that if Johnson offered evidence regarding Carrethers's positive GSR test, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would open the door for &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to admit his suppressed positive test results.&lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-id="pagenumber_2852" data-rep="P.3d" data-val="1157" data-vol="486"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2852" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2852" data-sentence-id="2853" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2853"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; At trial, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; asked whether Johnson intended to introduce evidence that Carrethers tested positive for GSR.&lt;/span&gt; &lt;span data-paragraph-id="2852" data-sentence-id="2970" class="ldml-sentence"&gt;Johnson's &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; responded that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; planned to do so as part of Johnson's alternate suspect defense.&lt;/span&gt; &lt;span data-paragraph-id="2852" data-sentence-id="3071" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; explained that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would lay the proper foundation through two of &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s witnesses: the crime scene investigator, who swabbed Carrethers for GSR, and the GSR analyst, who tested Carrethers's swabs.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3281" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3281" data-sentence-id="3281" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3281"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; ruled that if Johnson elected to introduce evidence of Carrethers's positive GSR test results, then &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; would be allowed, under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, to introduce evidence with respect to all the GSR test results, including Johnson's, notwithstanding &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s previous suppression order.&lt;/span&gt; &lt;span data-paragraph-id="3281" data-sentence-id="3590" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; reasoned that Johnson's introduction of Carrethers's positive GSR test results could mislead the jury into thinking that Johnson did not test positive for GSR or that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; wasn't tested at all and the investigation into Griego's death was &lt;span class="ldml-quotation quote"&gt;"subpar."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="3281" data-sentence-id="3847" class="ldml-sentence"&gt;Johnson's &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; objected, asserting that &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s ruling&lt;/span&gt; put him &lt;span class="ldml-quotation quote"&gt;"in a position of having to make a &lt;i class="ldml-italics"&gt;Hobson&lt;/i&gt; &lt;span class="ldml-parenthetical"&gt;[sic]&lt;/span&gt; choice of either deciding to present a defense and render ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; or to have this unconstitutionally obtained evidence come in against Mr. Johnson."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4139" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4139" data-sentence-id="4139" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4139"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Johnson elected not to inquire into Carrethers's GSR test results.&lt;/span&gt; &lt;span data-paragraph-id="4139" data-sentence-id="4209" class="ldml-sentence"&gt;The jury ultimately found Johnson guilty of first degree murder.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4273" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4273" data-sentence-id="4273" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4273"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Johnson appealed his judgment of conviction, contending that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred by forcing him to choose between exercising two constitutional rights: his right to present a complete defense and his right to exclude constitutionally inadmissible evidence at trial.&lt;/span&gt; &lt;span data-paragraph-id="4273" data-sentence-id="4544" class="ldml-sentence"&gt;In a published, split decision, a division of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; agreed, holding as a matter of first impression that &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; may offer truthful evidence that may nevertheless mislead the jury without opening the door to constitutionally inadmissible evidence.&lt;/span&gt; &lt;span data-paragraph-id="4273" data-sentence-id="4811" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4544"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Johnson&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4824" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4824" data-sentence-id="4824" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4824"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The division majority primarily based its reasoning on the holdings from two &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;: &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_4824"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Walder v. United States&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;347 U.S. 62, 65&lt;/span&gt;, &lt;span class="ldml-cite"&gt;74 S.Ct. 354&lt;/span&gt;, &lt;span class="ldml-cite"&gt;98 L.Ed. 503&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1954&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;recognizing the impeachment exception to the exclusionary rule by holding that evidence unconstitutionally seized under the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_5017"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is admissible to impeach &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s untruthful testimony&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, and &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_4824"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;James v. Illinois&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;493 U.S. 307, 320&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;, &lt;span class="ldml-cite"&gt;107 L.Ed.2d 676&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that illegally obtained evidence may not be used to impeach a defense witness's testimony&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4824" data-sentence-id="5401" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4824"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Johnson&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;¶¶ 17-25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4824" data-sentence-id="5420" class="ldml-sentence"&gt;Applying these holdings, the majority determined that the impeachment exception &lt;span class="ldml-quotation quote"&gt;"cannot possibly permit the use of &lt;span class="ldml-parenthetical"&gt;[suppressed]&lt;/span&gt; evidence to counter &lt;i class="ldml-italics"&gt;truthful&lt;/i&gt; testimony."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="4824" data-sentence-id="5589" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5420"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4824" data-sentence-id="5602" class="ldml-sentence"&gt;The majority held that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in its &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ruling&lt;/span&gt; because &lt;span class="ldml-quotation quote"&gt;"the effect of &lt;span class="ldml-parenthetical"&gt;[that]&lt;/span&gt; ruling was to chill Johnson's presentation of truthful and favorable evidence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="4824" data-sentence-id="5779" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5602"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4824" data-sentence-id="5792" class="ldml-sentence"&gt;And because Carrethers's GSR test results could support an inference that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; fired a gun around the time that Griego was killed, thus furthering Johnson's alternate suspect theory, the majority concluded that the error was not harmless beyond a reasonable doubt.&lt;/span&gt; &lt;span data-paragraph-id="4824" data-sentence-id="6056" class="ldml-sentence"&gt;The division majority accordingly reversed Johnson's first degree murder conviction and remanded &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; for a new trial.&lt;/span&gt; &lt;span data-paragraph-id="4824" data-sentence-id="6179" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6056"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 31-32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6195" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="6195" data-sentence-id="6195" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6195"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Taubman&lt;/span&gt; dissented&lt;/span&gt; in relevant part, noting that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would have affirmed Johnson's conviction because, in his view, the isolated presentation of Carrethers's GSR evidence would have prompted the jury to believe something that both &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; knew was not true—that Johnson either was not tested, or tested negative, for GSR.&lt;/span&gt; &lt;span data-paragraph-id="6195" data-sentence-id="6545" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6545"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6545"&gt;&lt;span class="ldml-cite"&gt;¶¶ 79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, 84, 89 &lt;span class="ldml-parenthetical"&gt;(Taubman, J., concurring in part and dissenting in part)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6195" data-sentence-id="6624" class="ldml-sentence"&gt;Thus, according to &lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Taubman&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s truth-seeking function tilts the scale toward permitting &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to introduce &lt;span class="ldml-parenthetical"&gt;[Johnson's]&lt;/span&gt; GSR evidence that had been previously excluded by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; to avoid misleading the jury."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="6195" data-sentence-id="6866" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6624"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6195" data-sentence-id="6879" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Taubman&lt;/span&gt;&lt;/span&gt; concluded that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ruling&lt;/span&gt; did not deprive Johnson of his right to exclude unconstitutionally seized evidence or his right to present a complete defense.&lt;/span&gt; &lt;span data-paragraph-id="6195" data-sentence-id="7068" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6879"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6195" data-sentence-id="7081" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s ruling&lt;/span&gt; presented Johnson with a permissible, albeit difficult, tactical decision that &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-id="pagenumber_7204" data-rep="P.3d" data-val="1158" data-vol="486"&gt;&lt;/span&gt; often face when determining how to best present a defense.&lt;/span&gt; &lt;span data-paragraph-id="6195" data-sentence-id="7264" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7081"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 82&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7276" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7276" data-sentence-id="7276" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7276"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted certiorari and now affirm the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_7354" data-parsed="true" data-types="analysis" data-format="upper_case_roman_numeral" data-content-heading-label="II. Analysis" data-specifier="II" data-confidences="very_high" data-ordinal_end="2" id="heading_7354" data-ordinal_start="2" data-value="II. Analysis"&gt;&lt;span data-paragraph-id="7354" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="7354" data-sentence-id="7354" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="7354" data-sentence-id="7358" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="7366" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7366" data-sentence-id="7366" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7366"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin by outlining the controlling standards of review.&lt;/span&gt; &lt;span data-paragraph-id="7366" data-sentence-id="7429" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; then detail the applicable law concerning the impeachment exception to the exclusionary rule.&lt;/span&gt; &lt;span data-paragraph-id="7366" data-sentence-id="7526" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; apply those principles to &lt;span class="ldml-entity"&gt;the facts presented&lt;/span&gt; here.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7589" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7589" data-sentence-id="7590" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7590"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Like the division majority in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; draw guidance from &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_7590"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Walder&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;, &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_7590"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;James&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , and other relevant caselaw, as well as the United States and Colorado Constitutions, and conclude that &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; may offer truthful, albeit potentially incomplete, evidence without opening the door to previously suppressed evidence.&lt;/span&gt; &lt;span data-paragraph-id="7589" data-sentence-id="7910" class="ldml-sentence"&gt;This is because the important truth-seeking rationale that prohibits &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; from turning the exclusion of illegally obtained evidence into a shield for perjury does not apply with equal force to truthful but potentially misleading testimony.&lt;/span&gt; &lt;span data-paragraph-id="7589" data-sentence-id="8157" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-id="heading_8217" data-parsed="true" data-types="standardofreview" data-format="upper_case_letters" data-content-heading-label="A. Standards of Review" data-specifier="A" data-confidences="very_high" data-ordinal_end="1" id="heading_8217" data-ordinal_start="1" data-value="A. Standards of Review"&gt;&lt;span data-paragraph-id="8217" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="8217" data-sentence-id="8217" class="ldml-sentence"&gt;A.&lt;/span&gt; &lt;span data-paragraph-id="8217" data-sentence-id="8220" class="ldml-sentence"&gt;Standards of Review&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="8239" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8239" data-sentence-id="8240" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8240"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; review &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;'s interpretation&lt;/span&gt; of the law governing the admissibility of evidence de novo.&lt;/span&gt; &lt;span data-paragraph-id="8239" data-sentence-id="8345" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8240" data-refglobal="case:peoplevsalas,2017coa63"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Salas&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2017 COA 63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8240"&gt;&lt;span class="ldml-cite"&gt;¶ 30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894342675" data-vids="894342675" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;405 P.3d 446, 453&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890219979" data-vids="890219979" class="ldml-reference" data-prop-ids="embeddedsentence_8456"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Smith&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;40 P.3d 1287, 1290&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2002&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;'s application of legal standards in a suppression ruling is a question of law that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review de novo&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8239" data-sentence-id="8586" class="ldml-sentence"&gt;This review encompasses the broader legal question of whether &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; &lt;i class="ldml-italics"&gt;can&lt;/i&gt; open the door for the admission of evidence otherwise barred by the exclusionary rule.&lt;/span&gt; &lt;span data-paragraph-id="8239" data-sentence-id="8751" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891131704" data-vids="891131704" class="ldml-reference" data-prop-ids="sentence_8586"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Melillo&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;25 P.3d 769, 777&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8805" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8805" data-sentence-id="8806" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8806"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; However, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;'s determination of whether &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; opened the door to otherwise inadmissible evidence for an abuse of discretion.&lt;/span&gt; &lt;span data-paragraph-id="8805" data-sentence-id="8957" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891063660" data-vids="891063660" class="ldml-reference" data-prop-ids="sentence_8806"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Lesney&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;855 P.2d 1364, 1366-67&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8805" data-sentence-id="9012" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A trial court&lt;/span&gt; abuses its discretion when its ruling is manifestly arbitrary, unreasonable, or unfair, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9012" data-refglobal="case:campbellvpeople,2019co66"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Campbell v. People&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;2019 CO 66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9012"&gt;&lt;span class="ldml-cite"&gt;¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888235663" data-vids="888235663" class="ldml-reference" data-prop-ids="sentence_9012"&gt;&lt;span class="ldml-cite"&gt;443 P.3d 72, 76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, or when it misapplies the law, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888999286" data-vids="888999286" class="ldml-reference" data-prop-ids="sentence_9012"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Jefferson&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2017 CO 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9012"&gt;&lt;span class="ldml-cite"&gt;¶ 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888999286" data-vids="888999286" class="ldml-reference" data-prop-ids="sentence_9012"&gt;&lt;span class="ldml-cite"&gt;393 P.3d 493, 499&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9258" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9258" data-sentence-id="9259" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9259"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; If &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in its evidentiary ruling, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must then determine whether such error necessitates reversal of Johnson's conviction.&lt;/span&gt; &lt;span data-paragraph-id="9258" data-sentence-id="9421" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_9259"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Hagos v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2012 CO 63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9259"&gt;&lt;span class="ldml-cite"&gt;¶ 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;288 P.3d 116, 118&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9258" data-sentence-id="9474" class="ldml-sentence"&gt;Because Johnson preserved this issue through a contemporaneous objection, and because the issue implicates Johnson's &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9474"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right to present a complete defense, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review for constitutional harmless error.&lt;/span&gt; &lt;span data-paragraph-id="9258" data-sentence-id="9689" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_9689"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9689"&gt;&lt;span class="ldml-cite"&gt;¶ 11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_9689"&gt;&lt;span class="ldml-cite"&gt;288 P.3d at 119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888440822" data-vids="888440822" class="ldml-reference" data-prop-ids="sentence_9689"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Krutsinger v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;219 P.3d 1054, 1061&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2009&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;discussing &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s right to present a complete defense&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9258" data-sentence-id="9843" class="ldml-sentence"&gt;Under that standard, &lt;span class="ldml-quotation quote"&gt;"errors require reversal unless the reviewing &lt;span class="ldml-entity"&gt;court&lt;/span&gt; is &lt;span class="ldml-quotation quote"&gt;‘able to declare a belief that &lt;span class="ldml-parenthetical"&gt;[the error]&lt;/span&gt; was harmless beyond a reasonable doubt.’&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9258" data-sentence-id="10005" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_9843"&gt;&lt;span class="ldml-refname"&gt;Hagos&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9843"&gt;&lt;span class="ldml-cite"&gt;¶ 11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;288 P.3d at 119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:chapmanvcalifornia,386us18,24,87sct824,17led2d705,87sct824,17led2d70587sct824,17led2d705"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Chapman v. California&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;386 U.S. 18, 24&lt;/span&gt;, &lt;span class="ldml-cite"&gt;87 S.Ct. 824&lt;/span&gt;, &lt;span class="ldml-cite"&gt;17 L.Ed.2d 705&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1967&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9258" data-sentence-id="10122" class="ldml-sentence"&gt;That is, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must reverse if &lt;span class="ldml-quotation quote"&gt;"there is a reasonable possibility that the &lt;span class="ldml-parenthetical"&gt;[error]&lt;/span&gt; might have contributed to the conviction."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9258" data-sentence-id="10245" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10122" data-refglobal="case:chapmanvcalifornia,386us18,24,87sct824,17led2d705,87sct824,17led2d70587sct824,17led2d705"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Chapman&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;386 U.S. at 23&lt;/span&gt;, &lt;span class="ldml-cite"&gt;87 S.Ct. 824&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891299563" data-vids="891299563" class="ldml-reference" data-prop-ids="sentence_10122"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Fahy v. Connecticut&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;375 U.S. 85, 86-87&lt;/span&gt;, &lt;span class="ldml-cite"&gt;84 S.Ct. 229&lt;/span&gt;, &lt;span class="ldml-cite"&gt;11 L.Ed.2d 171&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1963&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9258" data-sentence-id="10372" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The State&lt;/span&gt; bears the burden of proving that the error was harmless beyond a reasonable doubt.&lt;/span&gt; &lt;span data-paragraph-id="9258" data-sentence-id="10465" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_10372"&gt;&lt;span class="ldml-refname"&gt;Hagos&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10372"&gt;&lt;span class="ldml-cite"&gt;¶ 11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;288 P.3d at 119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10494" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10494" data-sentence-id="10494" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10494"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; With these standards in mind, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; turn to the applicable law.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-id="heading_10558" data-specifier="B" data-format="upper_case_letters" data-content-heading-label="B. The Impeachment Exception to the Exclusionary Rule" data-parsed="true" data-ordinal_end="2" id="heading_10558" data-ordinal_start="2" data-value="B. The Impeachment Exception to the Exclusionary Rule"&gt;&lt;span data-paragraph-id="10558" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="10558" data-sentence-id="10558" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="10558" data-sentence-id="10561" class="ldml-sentence"&gt;The Impeachment Exception to the Exclusionary Rule&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="10611" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10611" data-sentence-id="10612" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10612"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10612"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment to the United States Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10612"&gt;&lt;span class="ldml-cite"&gt;article II, section 7 of the Colorado Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; protect against &lt;span class="ldml-quotation quote"&gt;"unreasonable searches and seizures."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10611" data-sentence-id="10780" class="ldml-sentence"&gt;However, because the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10780"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is silent regarding how this right is to be enforced, &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; adopted the &lt;span class="ldml-quotation quote"&gt;"exclusionary rule,"&lt;/span&gt; which serves as a &lt;span class="ldml-quotation quote"&gt;"deterrent sanction that bars &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; from introducing evidence obtained by way of &lt;span class="ldml-entity"&gt;a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10780"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violation&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10611" data-sentence-id="11063" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891896053" data-vids="891896053" class="ldml-reference" data-prop-ids="sentence_10780"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Davis v. United States&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;564 U.S. 229, 231-32&lt;/span&gt;, &lt;span class="ldml-cite"&gt;131 S.Ct. 2419&lt;/span&gt;, &lt;span class="ldml-cite"&gt;180 L.Ed.2d 285&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10780" data-refglobal="case:mappvohio,367us643,81sct1684,6led2d1081,1961uslexis812,84alr2d933,86"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Mapp v. Ohio&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;367 U.S. 643, 660&lt;/span&gt;, &lt;span class="ldml-cite"&gt;81 S.Ct. 1684&lt;/span&gt;, &lt;span class="ldml-cite"&gt;6 L.Ed.2d 1081&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1961&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10611" data-sentence-id="11226" class="ldml-sentence"&gt;The exclusionary &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-id="pagenumber_11243" data-rep="P.3d" data-val="1159" data-vol="486"&gt;&lt;/span&gt; rule's purpose is to deter future &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11226"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violations&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"by removing the incentive to disregard"&lt;/span&gt; &lt;span class="ldml-entity"&gt;the Amendment&lt;/span&gt;'s constitutional guarantee.&lt;/span&gt; &lt;span data-paragraph-id="10611" data-sentence-id="11389" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892285928" data-vids="892285928" class="ldml-reference" data-prop-ids="sentence_11226"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Elkins v. United States&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;364 U.S. 206, 217&lt;/span&gt;, &lt;span class="ldml-cite"&gt;80 S.Ct. 1437&lt;/span&gt;, &lt;span class="ldml-cite"&gt;4 L.Ed.2d 1669&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1960&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="11470" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11470" data-sentence-id="11471" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11471"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Because the exclusionary rule bars &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; from introducing evidence obtained through &lt;span class="ldml-entity"&gt;a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11471"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violation&lt;/span&gt;, there is tension between &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11471"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; rights&lt;/span&gt; the exclusionary rule protects and the future search and seizure violations it seeks to deter, on the one hand, and &lt;span class="ldml-entity"&gt;the courts&lt;/span&gt;' truth-seeking function, on the other.&lt;/span&gt; &lt;span data-paragraph-id="11470" data-sentence-id="11818" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885135385" data-vids="885135385" class="ldml-reference" data-prop-ids="embeddedsentence_11906,sentence_11471"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Havens&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;446 U.S. 620, 626&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 S.Ct. 1912&lt;/span&gt;, &lt;span class="ldml-cite"&gt;64 L.Ed.2d 559&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"There is no gainsaying that arriving at the truth is a fundamental goal of our legal system."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891896053" data-vids="891896053" class="ldml-reference" data-prop-ids="embeddedsentence_12043,sentence_11471"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;564 U.S. at 237&lt;/span&gt;, &lt;span class="ldml-cite"&gt;131 S.Ct. 2419&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;discussing the social costs generated by the exclusionary rule, including that its &lt;span class="ldml-quotation quote"&gt;"bottom-line effect, in many &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, is to suppress the truth"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="embeddedsentence_12242,sentence_11471"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;James&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;493 U.S. at 311-12&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; has &lt;span class="ldml-quotation quote"&gt;"carved out exceptions to the exclusionary rule ... where the introduction of reliable and probative evidence would significantly further the truthseeking function of a criminal trial and the likelihood that admissibility of such evidence would encourage police misconduct is but a &lt;span class="ldml-quotation quote"&gt;‘speculative possibility’&lt;/span&gt; "&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891685798" data-vids="891685798" class="ldml-reference" data-prop-ids="sentence_11471"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Harris v. New York&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;401 U.S. 222, 225&lt;/span&gt;, &lt;span class="ldml-cite"&gt;91 S.Ct. 643&lt;/span&gt;, &lt;span class="ldml-cite"&gt;28 L.Ed.2d 1&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1971&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="12667" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="12667" data-sentence-id="12667" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12667"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; It is that tension that led &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; to adopt the impeachment exception in &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_12667"&gt;&lt;span class="ldml-refname"&gt;Walder&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/i&gt;&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="12763" class="ldml-sentence"&gt;During his direct examination in a narcotics distribution case, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; testified untruthfully that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had never sold or possessed narcotics.&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="12911" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_12763"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Walder&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;347 U.S. at 63&lt;/span&gt;, &lt;span class="ldml-cite"&gt;74 S.Ct. 354&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="12949" class="ldml-sentence"&gt;On cross-examination, &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; asked &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; about a prior drug possession charge, despite the fact that the charge was ultimately dismissed after evidence of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s heroin possession was suppressed.&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="13170" class="ldml-sentence"&gt;In response, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; untruthfully testified that the prior case never happened.&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="13256" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_13170"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 64&lt;/span&gt;, &lt;span class="ldml-cite"&gt;74 S.Ct. 354&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="13281" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; then permitted &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to impeach &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s credibility by presenting testimony from one of the officers who conducted the unlawful search in the prior possession case and the chemist who analyzed the heroin.&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="13520" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_13281"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="13524" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; was ultimately convicted of distributing narcotics.&lt;/span&gt; &lt;span data-paragraph-id="12667" data-sentence-id="13590" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_13524"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="13593" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13593" data-sentence-id="13593" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13593"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; appealed, asserting that the admission of the previously suppressed evidence violated his &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13593"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right to be free from unreasonable searches and seizures.&lt;/span&gt; &lt;span data-paragraph-id="13593" data-sentence-id="13776" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13593"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="13593" data-sentence-id="13780" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_13780"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Walder&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Court&lt;/span&gt; disagreed, noting,&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_13815" class="ldml-blockquote"&gt;&lt;span data-sentence-id="13815" class="ldml-sentence"&gt;It is one thing to say that the Government cannot make an affirmative use of evidence unlawfully obtained.&lt;/span&gt; &lt;span data-sentence-id="13922" class="ldml-sentence"&gt;It is quite another to say that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; can turn the illegal method by which evidence in the Government's possession was obtained to his own advantage, and provide himself with a shield against contradiction of his untruths.&lt;/span&gt; &lt;span data-sentence-id="14153" class="ldml-sentence"&gt;Such &lt;span class="ldml-parenthetical"&gt;[practice]&lt;/span&gt; would be a perversion of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14153"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="14215" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14215" data-sentence-id="14216" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 65&lt;/span&gt;, &lt;span class="ldml-cite"&gt;74 S.Ct. 354&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14215" data-sentence-id="14241" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; held that the protection of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14241"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right did not provide &lt;span class="ldml-quotation quote"&gt;"justification for letting &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; affirmatively resort to perjurious testimony in reliance on the Government's disability to challenge his credibility."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14215" data-sentence-id="14494" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_14241"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="14497" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="14497" data-sentence-id="14497" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14497"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The Supreme Court&lt;/span&gt; revisited the impeachment exception in &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885135385" data-vids="885135385" class="ldml-reference" data-prop-ids="sentence_14497"&gt;&lt;span class="ldml-refname"&gt;Havens&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/i&gt;&lt;/span&gt; &lt;span data-paragraph-id="14497" data-sentence-id="14566" class="ldml-sentence"&gt;After stressing the &lt;span class="ldml-quotation quote"&gt;"importance of arriving at the truth in criminal trials, as well as &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s obligation to speak the truth in response to proper questions,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885135385" data-vids="885135385" class="ldml-reference" data-prop-ids="sentence_14566"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Havens&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;446 U.S. at 626&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 S.Ct. 1912&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; held that &lt;span class="ldml-quotation quote"&gt;"a &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s statements made in response to proper cross-examination reasonably suggested by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s direct examination are subject to otherwise proper impeachment by the government, albeit by evidence that has been illegally obtained and that is inadmissible on the government's direct case, or otherwise, as substantive evidence of guilt,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885135385" data-vids="885135385" class="ldml-reference" data-prop-ids="sentence_14566"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 627-28&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 S.Ct. 1912&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="15177" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15177" data-sentence-id="15177" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15177"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; While &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885135385" data-vids="885135385" class="ldml-reference" data-prop-ids="sentence_15177"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Havens&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; undoubtedly expanded the scope of the impeachment exception, the question became how far?&lt;/span&gt; &lt;span data-paragraph-id="15177" data-sentence-id="15284" class="ldml-sentence"&gt;In other words, to what degree must &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"reasonably suggest"&lt;/span&gt; an untruth in his or her direct examination before it may be contradicted by &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; with suppressed evidence?&lt;/span&gt; &lt;span data-paragraph-id="15177" data-sentence-id="15472" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; answered that question in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887525174" data-vids="887525174" class="ldml-reference" data-prop-ids="sentence_15472"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;LeMasters v. People&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;678 P.2d 538&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-id="pagenumber_15549" data-rep="P.3d" data-val="1160" data-vol="486"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="15549" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15549" data-sentence-id="15550" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15550"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887525174" data-vids="887525174" class="ldml-reference" data-prop-ids="sentence_15550"&gt;&lt;span class="ldml-refname"&gt;LeMasters&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; argued that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; opened the door to the admission of certain suppressed evidence for impeachment purposes &lt;span class="ldml-quotation quote"&gt;&lt;i class="ldml-italics"&gt;"because on the direct examination by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; there has been a denial of his involvement in this crime."&lt;/i&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15549" data-sentence-id="15810" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887525174" data-vids="887525174" class="ldml-reference" data-prop-ids="sentence_15550"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 541&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15549" data-sentence-id="15822" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; permitted &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to introduce and inquire into certain physical evidence that was previously suppressed.&lt;/span&gt; &lt;span data-paragraph-id="15549" data-sentence-id="15952" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887525174" data-vids="887525174" class="ldml-reference" data-prop-ids="sentence_15822"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 541-42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="15966" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15966" data-sentence-id="15967" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15967"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; On appeal, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; overturned &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s conviction because &lt;span class="ldml-quotation quote"&gt;"the requisite inconsistency between the suppressed physical evidence and &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s statement is not present."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15966" data-sentence-id="16148" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887525174" data-vids="887525174" class="ldml-reference" data-prop-ids="sentence_15967"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 543&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15966" data-sentence-id="16160" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; observed,&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_16186" class="ldml-blockquote"&gt;&lt;span data-sentence-id="16186" class="ldml-sentence"&gt;In our view, the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; did not intend that its &lt;span class="ldml-entity"&gt;decisions in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_16186"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Walder&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;its progeny&lt;/span&gt; be extended to the extreme asserted in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-sentence-id="16341" class="ldml-sentence"&gt;To &lt;span class="ldml-parenthetical"&gt;[permit &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to introduce the suppressed evidence]&lt;/span&gt; under &lt;span class="ldml-entity"&gt;the facts of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt; would substantially burden &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s right to take the stand in his own defense by sanctioning the use of unconstitutionally obtained evidence to establish guilt.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="16601" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="16601" data-sentence-id="16602" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887525174" data-vids="887525174" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 544&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16601" data-sentence-id="16614" class="ldml-sentence"&gt;Our &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887525174" data-vids="887525174" class="ldml-reference" data-prop-ids="sentence_16614"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;LeMasters&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; makes it clear that the impeachment exception to the exclusionary rule permits &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to admit previously suppressed evidence on cross-examination to impeach &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s untruthful testimony on direct examination, but only when there is an apparent nexus between &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s testimony and the suppressed evidence that contradicts the untruthful testimony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17010" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17010" data-sentence-id="17010" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17010"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Finally, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_17010"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;James&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; addressed whether the impeachment exception allowed the use of suppressed evidence to impeach the testimony of defense witnesses in order to deter &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; from engaging in perjury &lt;span class="ldml-quotation quote"&gt;"by proxy."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17010" data-sentence-id="17264" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_17010"&gt;&lt;span class="ldml-cite"&gt;493 U.S. at 311&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17010" data-sentence-id="17296" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; concluded that the impeachment exception does not permit &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to introduce illegally obtained evidence to impeach the credibility of a defense witness.&lt;/span&gt; &lt;span data-paragraph-id="17010" data-sentence-id="17469" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_17296"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 320&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17010" data-sentence-id="17496" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; explained that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[e]&lt;/span&gt;xpanding the class of impeachable witnesses from &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; alone ... would not promote the truthseeking function to the same extent as did creation of the original exception, and yet it would significantly undermine the deterrent effect of the general exclusionary rule"&lt;/span&gt; for two reasons.&lt;/span&gt; &lt;span data-paragraph-id="17010" data-sentence-id="17817" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_17496"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 313-14&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17010" data-sentence-id="17847" class="ldml-sentence"&gt;First, &lt;span class="ldml-quotation quote"&gt;"the mere threat of a subsequent criminal &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; for perjury is far more likely to deter a witness from intentionally lying on &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s behalf than to deter &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;, already facing conviction for the underlying offense, from lying on his own behalf."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17010" data-sentence-id="18119" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_17847"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 314&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17010" data-sentence-id="18146" class="ldml-sentence"&gt;Second, because &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt;efendants might reasonably fear that one or more of their witnesses, in a position to offer truthful and favorable testimony, would also make some statement in sufficient tension with the tainted evidence to allow &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; to introduce that evidence for impeachment,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_18146"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 315&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, expanding the impeachment exception to all defense witnesses &lt;span class="ldml-quotation quote"&gt;"likely would chill some &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; from presenting their best defense and sometimes any defense at all—through the testimony of others,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_18146"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 314-15&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="18695" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="18695" data-sentence-id="18695" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18695"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; additionally explained that the exception &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"leaves &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; free to testify truthfully on their own behalf; &lt;span class="ldml-entity"&gt;they&lt;/span&gt; can offer probative and exculpatory evidence to the jury without opening the door to impeachment by carefully avoiding any statements that directly contradict the suppressed evidence.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;The exception thus generally discourages perjured testimony without discouraging truthful testimony."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18695" data-sentence-id="19109" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_18695"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 314&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-id="heading_19135" data-specifier="C" data-format="upper_case_letters" data-content-heading-label="C. Application" data-parsed="true" data-ordinal_end="3" id="heading_19135" data-ordinal_start="3" data-value="C. Application"&gt;&lt;span data-paragraph-id="19135" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="19135" data-sentence-id="19135" class="ldml-sentence"&gt;C.&lt;/span&gt; &lt;span data-paragraph-id="19135" data-sentence-id="19138" class="ldml-sentence"&gt;Application&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="19149" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19149" data-sentence-id="19150" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19150"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;This case&lt;/span&gt; requires &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to resolve the tension among the deterrent purpose animating the exclusionary rule, Johnson's right to present a complete defense, and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s truth-seeking function.&lt;/span&gt; &lt;span data-paragraph-id="19149" data-sentence-id="19347" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt;, applying &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, concluded that the admission of Carrethers's positive GSR test results was misleading because it could imply that Johnson did not test positive for GSR or that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was not tested and the investigation was &lt;span class="ldml-quotation quote"&gt;"subpar."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19149" data-sentence-id="19596" class="ldml-sentence"&gt;Thus, if Johnson introduced such evidence, it would open the door for &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to admit his previously suppressed positive GSR test results.&lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-id="pagenumber_19743" data-rep="P.3d" data-val="1161" data-vol="486"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="19743" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19743" data-sentence-id="19744" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19744"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Taubman&lt;/span&gt;&lt;/span&gt; concluded that &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s ruling&lt;/span&gt; was correct because Johnson sought to use his suppressed GSR evidence to &lt;span class="ldml-quotation quote"&gt;"obfuscate &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s truth-seeking function."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19743" data-sentence-id="19923" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19744"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Johnson&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 73&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Taubman, J., concurring in part and dissenting in part)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19743" data-sentence-id="19996" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; ask, for the same reason, that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; expand the impeachment exception to the exclusionary rule to reach truthful testimony elicited by the defense that could mislead the jury.&lt;/span&gt; &lt;span data-paragraph-id="19743" data-sentence-id="20180" class="ldml-sentence"&gt;For the reasons detailed below, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; decline to expand the impeachment exception to truthful testimony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20281" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20281" data-sentence-id="20281" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20281"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The Supreme Court&lt;/span&gt; outlined the contours of the impeachment exception in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_20281"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Walder&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_20281"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;James&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20281" data-sentence-id="20375" class="ldml-sentence"&gt;While &lt;span class="ldml-entity"&gt;the facts presented&lt;/span&gt; here do not perfectly align with those of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_20375"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Walder&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; or &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_20375"&gt;&lt;span class="ldml-refname"&gt;James&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; the relevant language from &lt;span class="ldml-entity"&gt;those cases&lt;/span&gt; convince &lt;span class="ldml-entity"&gt;us&lt;/span&gt; that the division majority got it right: &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he &lt;span class="ldml-parenthetical"&gt;[impeachment]&lt;/span&gt; exception cannot possibly permit the use of &lt;span class="ldml-parenthetical"&gt;[suppressed]&lt;/span&gt; evidence to counter &lt;i class="ldml-italics"&gt;truthful&lt;/i&gt; testimony."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20281" data-sentence-id="20671" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20375"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Johnson&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;¶ 27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20281" data-sentence-id="20686" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reach this conclusion because the expansion of the impeachment exception sought by &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; would undermine the purpose of the exclusionary rule and chill &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt;' rights to present a complete defense through truthful testimony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20922" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20922" data-sentence-id="20922" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20922"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Permitting &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to introduce Johnson's GSR evidence could undermine the exclusionary rule's &lt;span class="ldml-quotation quote"&gt;"sole purpose,"&lt;/span&gt; which is &lt;span class="ldml-quotation quote"&gt;"to deter future &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20922"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violations&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20922" data-sentence-id="21101" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891896053" data-vids="891896053" class="ldml-reference" data-prop-ids="sentence_20922"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;564 U.S. at 236-37&lt;/span&gt;, &lt;span class="ldml-cite"&gt;131 S.Ct. 2419&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20922" data-sentence-id="21144" class="ldml-sentence"&gt;As the division majority observed, such practice would &lt;span class="ldml-quotation quote"&gt;"arguably encourage&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; future violations"&lt;/span&gt; by &lt;span class="ldml-quotation quote"&gt;"effectively shield&lt;span class="ldml-parenthetical"&gt;[ing]&lt;/span&gt; potentially exculpatory evidence from use by the defense."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20922" data-sentence-id="21328" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21144"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Johnson&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;¶ 28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20922" data-sentence-id="21343" class="ldml-sentence"&gt;If &lt;span class="ldml-entity"&gt;we&lt;/span&gt; expand the impeachment exception to include &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s truthful testimony, the expected value of illegally obtained evidence would be enhanced, and an uptick in police misconduct may occur.&lt;/span&gt; &lt;span data-paragraph-id="20922" data-sentence-id="21542" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="embeddedsentence_21587,sentence_21343"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;James&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;493 U.S. at 318&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; that it is &lt;span class="ldml-quotation quote"&gt;"far more than a &lt;span class="ldml-quotation quote"&gt;‘speculative possibility’&lt;/span&gt; that police misconduct will be encouraged by permitting such use of illegally obtained evidence"&lt;/span&gt; because &lt;span class="ldml-quotation quote"&gt;"police officers and their superiors would recognize that obtaining evidence through illegal means stacks the deck heavily in &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s favor"&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891685798" data-vids="891685798" class="ldml-reference" data-prop-ids="sentence_21343"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Harris&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;401 U.S. at 225&lt;/span&gt;, &lt;span class="ldml-cite"&gt;91 S.Ct. 643&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="21958" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21958" data-sentence-id="21958" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21958"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; More significantly, expanding the impeachment exception to encompass &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt;' truthful testimony &lt;span class="ldml-quotation quote"&gt;"likely would chill some &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; from presenting their best defense and sometimes any defense at all."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21958" data-sentence-id="22168" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_21958"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 314-15&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21958" data-sentence-id="22198" class="ldml-sentence"&gt;That is precisely what occurred here.&lt;/span&gt; &lt;span data-paragraph-id="21958" data-sentence-id="22236" class="ldml-sentence"&gt;In effect, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;, through its &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ruling&lt;/span&gt;, expanded the impeachment exception to preclude Johnson from presenting truthful testimony that supported his alternate suspect theory.&lt;/span&gt; &lt;span data-paragraph-id="21958" data-sentence-id="22427" class="ldml-sentence"&gt;And in so doing, Johnson's constitutional right to present a complete defense was violated.&lt;/span&gt; &lt;span data-paragraph-id="21958" data-sentence-id="22519" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="embeddedsentence_22562,sentence_22427"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Walder&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;347 U.S. at 65&lt;/span&gt;, &lt;span class="ldml-cite"&gt;74 S.Ct. 354&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he &lt;span class="ldml-entity"&gt;Constitution&lt;/span&gt; guarantees &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; the fullest opportunity to meet the accusation against him.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; must be free to deny all the elements of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; against him without thereby giving leave to the Government to introduce by way of rebuttal evidence illegally secured by it ...."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="21958" data-sentence-id="22848" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="22849" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22849" data-sentence-id="22849" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22849"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Moreover, Carrethers's positive GSR test results would have been admitted not through Johnson or another defense witness, but rather through two of &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s witnesses.&lt;/span&gt; &lt;span data-paragraph-id="22849" data-sentence-id="23030" class="ldml-sentence"&gt;And if the fear of &lt;span class="ldml-quotation quote"&gt;"perjury by proxy"&lt;/span&gt; is insufficient grounds to expand the impeachment exception to a defense witness who ostensibly has an incentive to lie on behalf of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_23030"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;James&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;493 U.S. at 310, 314&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, there is absolutely no reason to expand the exception to reach truthful testimony elicited by the defense through &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s witnesses.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="23402" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="23402" data-sentence-id="23402" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23402"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt;'s and Judge Taubman's concerns regarding &lt;span class="ldml-entity"&gt;the courts&lt;/span&gt;' truth-seeking function are laudable.&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="23512" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; affirm the importance of that principle here by emphasizing that it would not be proper for Johnson to ask the jury to infer that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was not tested for GSR, that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not test positive for GSR, or that the investigation into Griego's death was subpar based on the GSR testing.&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="23794" class="ldml-sentence"&gt;However, there is no indication that Johnson planned to do so.&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="23857" class="ldml-sentence"&gt;Rather, defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; expressly stated to &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would avoid asking any questions involving Johnson's GSR evidence or the nature of the investigation, thereby diminishing the concern that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s truth-seeking function &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-id="pagenumber_24099" data-rep="P.3d" data-val="1162" data-vol="486"&gt;&lt;/span&gt; would be undermined by the introduction of Carrethers's positive GSR test results.&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="24183" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;these circumstances&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agree with the division majority that the &lt;span class="ldml-quotation quote"&gt;"effect of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s ruling&lt;/span&gt; was to chill Johnson's presentation of truthful and favorable evidence,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24183"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, by &lt;span class="ldml-quotation quote"&gt;"expand&lt;span class="ldml-parenthetical"&gt;[ing]&lt;/span&gt; the impeachment exception even further than ... &lt;span class="ldml-parenthetical"&gt;[the rejected expansion]&lt;/span&gt; in &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_24183"&gt;&lt;span class="ldml-refname"&gt;James&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; "&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24183"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="24491" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt;'s evidentiary ruling under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; presented Johnson with the quintessential &lt;i class="ldml-italics"&gt;Hobson's&lt;/i&gt; choice: &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could either rely on &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s ruling&lt;/span&gt; excluding his unconstitutionally seized GSR evidence at trial, or &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could protect his right to present a complete defense, by introducing Carrethers's GSR test results, which supported his alternate suspect theory.&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="24860" class="ldml-sentence"&gt;Johnson could not do both.&lt;/span&gt; &lt;span data-paragraph-id="23402" data-sentence-id="24887" class="ldml-sentence"&gt;By forcing Johnson to make this choice, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; necessarily violated Johnson's right to present a complete defense.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="25010" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="25010" data-sentence-id="25010" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25010"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt;, accordingly, agree with the division majority and conclude that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; abused its discretion.&lt;/span&gt; &lt;span data-paragraph-id="25010" data-sentence-id="25121" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888999286" data-vids="888999286" class="ldml-reference" data-prop-ids="sentence_25010"&gt;&lt;span class="ldml-refname"&gt;Jefferson&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25010"&gt;&lt;span class="ldml-cite"&gt;¶ 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888999286" data-vids="888999286" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;393 P.3d at 499&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="25159" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25159" data-sentence-id="25160" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25160"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Having found that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; will reverse if &lt;span class="ldml-quotation quote"&gt;"there is a reasonable possibility that the &lt;span class="ldml-parenthetical"&gt;[error]&lt;/span&gt; might have contributed to the conviction."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="25159" data-sentence-id="25319" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25160" data-refglobal="case:chapmanvcalifornia,386us18,24,87sct824,17led2d705,87sct824,17led2d70587sct824,17led2d705"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Chapman&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;386 U.S. at 23&lt;/span&gt;, &lt;span class="ldml-cite"&gt;87 S.Ct. 824&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891299563" data-vids="891299563" class="ldml-reference" data-prop-ids="sentence_25160"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Fahy&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;375 U.S. at 86-87&lt;/span&gt;, &lt;span class="ldml-cite"&gt;84 S.Ct. 229&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25159" data-sentence-id="25407" class="ldml-sentence"&gt;As &lt;span class="ldml-entity"&gt;we&lt;/span&gt; alluded to above, the error might have contributed to Johnson's first degree murder conviction because it prevented him from presenting a complete defense, which included advancing the theory that Carrethers killed Griego.&lt;/span&gt; &lt;span data-paragraph-id="25159" data-sentence-id="25636" class="ldml-sentence"&gt;In fact, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s evidentiary ruling effectively barred Johnson from introducing the evidence that was most probative of this theory—Carrethers's positive GSR test results—and limited the arguments defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; could make in closing.&lt;/span&gt; &lt;span data-paragraph-id="25159" data-sentence-id="25882" class="ldml-sentence"&gt;Had Johnson been able to fully explore Carrethers's GSR evidence, the jury could have believed that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; fired a gun around the time of Griego's murder, and such belief could have supported an inference that Johnson was not responsible for the murder.&lt;/span&gt; &lt;span data-paragraph-id="25159" data-sentence-id="26133" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s error was not harmless beyond a reasonable doubt.&lt;/span&gt; &lt;span data-paragraph-id="25159" data-sentence-id="26214" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_26133"&gt;&lt;span class="ldml-refname"&gt;Hagos&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26133"&gt;&lt;span class="ldml-cite"&gt;¶ 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;288 P.3d at 118&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_26247" data-parsed="true" data-types="conclusion" data-format="upper_case_roman_numeral" data-content-heading-label="III. Conclusion" data-specifier="III" data-confidences="very_high" data-ordinal_end="3" id="heading_26247" data-ordinal_start="3" data-value="III. Conclusion"&gt;&lt;span data-paragraph-id="26247" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="26247" data-sentence-id="26247" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="26247" data-sentence-id="26252" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="26262" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="26262" data-sentence-id="26262" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26262"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; For the foregoing reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="26340" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Dissenting Opinion (MÁRQUEZ, MÁRQUEZ)"&gt;&lt;span data-paragraph-id="26340" data-sentence-id="26340" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MÁRQUEZ&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;dissents&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26365" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="26365" data-sentence-id="26365" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MÁRQUEZ&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-opiniontype"&gt;dissenting&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26393" class="ldml-paragraph "&gt;&lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="26393" data-sentence-id="26393" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26393"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; I respectfully &lt;span class="ldml-opiniontype"&gt;dissent&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26393" data-sentence-id="26421" class="ldml-sentence"&gt;The majority effectively holds today that &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; can exploit the exclusionary rule to present evidence to a jury in a manner that is affirmatively misleading.&lt;/span&gt; &lt;span data-paragraph-id="26393" data-sentence-id="26585" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26421"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶¶ 1, 14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26393" data-sentence-id="26608" class="ldml-sentence"&gt;It does so by allowing &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; to introduce incomplete evidence without opening the door to previously suppressed information that is necessary to contextualize such evidence and prevent the jury from drawing a false inference.&lt;/span&gt; &lt;span data-paragraph-id="26393" data-sentence-id="26840" class="ldml-sentence"&gt;The majority's ruling not only hinders the fundamental truthseeking function of trial but also allows &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; to seek a verdict based in part on an inference that everyone in the courtroom, except the jury, knows to be untrue.&lt;/span&gt; &lt;span data-paragraph-id="26393" data-sentence-id="27071" class="ldml-sentence"&gt;Moreover, by inaccurately characterizing the suppressed evidence here as &lt;span class="ldml-quotation quote"&gt;"impeachment,"&lt;/span&gt; I believe both &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; and the majority misapply &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_27071"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Walder v. United States&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;347 U.S. 62&lt;/span&gt;, &lt;span class="ldml-cite"&gt;74 S.Ct. 354&lt;/span&gt;, &lt;span class="ldml-cite"&gt;98 L.Ed. 503&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1954&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_27071"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;James v. Illinois&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;493 U.S. 307&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;, &lt;span class="ldml-cite"&gt;107 L.Ed.2d 676&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27369" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27369" data-sentence-id="27369" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27369"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Elmo Johnson&lt;/span&gt; sought to introduce evidence of &lt;span class="ldml-entity"&gt;Toni Carrethers&lt;/span&gt;'s positive test results for gunshot residue &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"GSR"&lt;/span&gt;)&lt;/span&gt; to support an alternate suspect theory.&lt;/span&gt; &lt;span data-paragraph-id="27369" data-sentence-id="27526" class="ldml-sentence"&gt;But the value of this evidence to the defense lay in presenting it in isolation because doing so would give rise to an inference that Johnson did &lt;i class="ldml-italics"&gt;not&lt;/i&gt; test positive for GSR—an inference that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; knew was false.&lt;/span&gt; &lt;span data-paragraph-id="27369" data-sentence-id="27764" class="ldml-sentence"&gt;It does not matter that defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; pledged not to argue that inference or expressly ask the jury to draw it.&lt;/span&gt; &lt;span data-paragraph-id="27369" data-sentence-id="27878" class="ldml-sentence"&gt;The inference was natural, obvious, helpful to the defense—and indisputably untrue.&lt;/span&gt; &lt;span data-paragraph-id="27369" data-sentence-id="27962" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; correctly recognized that, by presenting an incomplete picture of the GSR testing &lt;span class="ldml-parenthetical"&gt;(that is, by introducing evidence that Carrethers tested positive for GSR knowing the jury was prevented from hearing about Johnson's suppressed GSR test results)&lt;/span&gt;, Johnson sought to use the exclusionary rule both as a sword and a shield and to exploit the protection of that &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-id="pagenumber_28335" data-rep="P.3d" data-val="1163" data-vol="486"&gt;&lt;/span&gt; rule in a manner that undermined the truthseeking function of trial.&lt;/span&gt; &lt;span data-paragraph-id="27369" data-sentence-id="28405" class="ldml-sentence"&gt;To avoid misleading the jury, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; properly precluded Johnson from introducing evidence of Carrethers's GSR testing in isolation and instead conditioned his choice to introduce such evidence on allowing &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to also introduce testimony regarding Johnson's GSR test results so that the jury would have a complete picture from which to draw any conclusions.&lt;/span&gt; &lt;span data-paragraph-id="27369" data-sentence-id="28783" class="ldml-sentence"&gt;In short, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; properly sought to prevent the jury from reaching a verdict based on an inference that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; knew to be false.&lt;/span&gt; &lt;span data-paragraph-id="27369" data-sentence-id="28940" class="ldml-sentence"&gt;In so doing, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not abuse its discretion or violate Johnson's constitutional rights.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="29041" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="29041" data-sentence-id="29041" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29041"&gt;&lt;span class="ldml-cite"&gt;¶41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Importantly, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; never characterized the suppressed evidence as &lt;span class="ldml-quotation quote"&gt;"impeachment"&lt;/span&gt; evidence, nor did it purport to apply the specific impeachment exception to the exclusionary rule from &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_29041"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Walder&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_29041"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;James&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29041" data-sentence-id="29256" class="ldml-sentence"&gt;This is because the suppressed evidence regarding Johnson's GSR testing would not somehow &lt;span class="ldml-quotation quote"&gt;"impeach"&lt;/span&gt; or otherwise contradict testimony regarding Carrethers's GSR testing.&lt;/span&gt; &lt;span data-paragraph-id="29041" data-sentence-id="29426" class="ldml-sentence"&gt;Rather, allowing the defense to introduce evidence of Carrethers's results in isolation created an incomplete and misleading picture—presenting an &lt;span class="ldml-quotation quote"&gt;"opening-the-door"&lt;/span&gt; or doctrine of completeness problem, not an impeachment issue.&lt;/span&gt; &lt;span data-paragraph-id="29041" data-sentence-id="29655" class="ldml-sentence"&gt;For this reason, both &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;' and the majority's reliance on the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_29655"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Walder&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;/&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_29655"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;James&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; impeachment analysis is inapt and makes little sense on &lt;span class="ldml-entity"&gt;these facts&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_29817" data-specifier="I" data-format="upper_case_roman_numeral" data-content-heading-label="I. Walder/James" data-parsed="true" data-ordinal_end="1" id="heading_29817" data-ordinal_start="1" data-value="I. Walder/James"&gt;&lt;span data-paragraph-id="29817" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="29817" data-sentence-id="29817" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;b class="ldml-bold"&gt;I. &lt;span class="ldml-embeddedsentence"&gt;&lt;i class="ldml-italics"&gt;Walder&lt;/i&gt;&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;span class="ldml-embeddedsentence"&gt;&lt;b class="ldml-bold"&gt;/&lt;/b&gt;&lt;b class="ldml-bold"&gt;James&lt;/b&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="29832" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="29832" data-sentence-id="29832" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29832"&gt;&lt;span class="ldml-cite"&gt;¶42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The majority frames the issue here as whether the impeachment exception to the exclusionary rule from &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_29832"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Walder&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_29832"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;James&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; should extend to &lt;span class="ldml-entity"&gt;the circumstances of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29832" data-sentence-id="30004" class="ldml-sentence"&gt;Because it asks the wrong question, the majority arrives at the wrong conclusion.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="30085" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="30085" data-sentence-id="30085" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30085"&gt;&lt;span class="ldml-cite"&gt;¶43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; At the outset, I note two things.&lt;/span&gt; &lt;span data-paragraph-id="30085" data-sentence-id="30123" class="ldml-sentence"&gt;First, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;hile fundamental, the right to present defense evidence is not absolute."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="30085" data-sentence-id="30208" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889625979" data-vids="889625979" class="ldml-reference" data-prop-ids="sentence_30123"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Melendez&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;102 P.3d 315, 320&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30085" data-sentence-id="30260" class="ldml-sentence"&gt;Indeed, &lt;span class="ldml-quotation quote"&gt;"the right to present a defense is generally subject to, and constrained by, familiar and well-established limits on the admissibility of evidence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="30085" data-sentence-id="30417" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30260" data-refglobal="case:inrethepeopleofthestateofcoloradovelmarrcaseno14sa35351p3d431,2015co53june29,2015"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Elmarr&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2015 CO 53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30260"&gt;&lt;span class="ldml-cite"&gt;¶ 27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethepeopleofthestateofcoloradovelmarrcaseno14sa35351p3d431,2015co53june29,2015"&gt;&lt;span class="ldml-cite"&gt;351 P.3d 431, 438&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30085" data-sentence-id="30472" class="ldml-sentence"&gt;Second, under the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30472"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[e]&lt;/span&gt;xclusion &lt;span class="ldml-parenthetical"&gt;[of illegally obtained evidence]&lt;/span&gt; is &lt;span class="ldml-quotation quote"&gt;‘not a personal constitutional right,’&lt;/span&gt; nor is it designed to &lt;span class="ldml-quotation quote"&gt;‘redress the injury’&lt;/span&gt; occasioned by an unconstitutional search."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="30085" data-sentence-id="30682" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891896053" data-vids="891896053" class="ldml-reference" data-prop-ids="sentence_30472"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Davis v. United States&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;564 U.S. 229, 236&lt;/span&gt;, &lt;span class="ldml-cite"&gt;131 S.Ct. 2419&lt;/span&gt;, &lt;span class="ldml-cite"&gt;180 L.Ed.2d 285&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895213289" data-vids="895213289" class="ldml-reference" data-prop-ids="sentence_30472"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Stone v. Powell&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;428 U.S. 465, 486&lt;/span&gt;, &lt;span class="ldml-cite"&gt;96 S.Ct. 3037&lt;/span&gt;, &lt;span class="ldml-cite"&gt;49 L.Ed.2d 1067&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30085" data-sentence-id="30850" class="ldml-sentence"&gt;Instead, the &lt;span class="ldml-quotation quote"&gt;"sole purpose"&lt;/span&gt; of the exclusionary rule &lt;span class="ldml-quotation quote"&gt;"is to deter future &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30850"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violations&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="30085" data-sentence-id="30953" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891896053" data-vids="891896053" class="ldml-reference" data-prop-ids="sentence_30850"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 236-37&lt;/span&gt;, &lt;span class="ldml-cite"&gt;131 S.Ct. 2419&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="30983" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="30983" data-sentence-id="30983" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30983"&gt;&lt;span class="ldml-cite"&gt;¶44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As the majority correctly recognizes, the &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt; has &lt;span class="ldml-quotation quote"&gt;"carved out exceptions to the exclusionary rule ... where the introduction of reliable and probative evidence would significantly further the truthseeking function of a criminal trial and the likelihood that admissibility of such evidence would encourage police misconduct is but a &lt;span class="ldml-quotation quote"&gt;‘speculative possibility.’&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="30983" data-sentence-id="31363" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30983"&gt;&lt;span class="ldml-cite"&gt;Maj. op. at ¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_30983"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;James&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;493 U.S. at 311&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="31429" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="31429" data-sentence-id="31429" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31429"&gt;&lt;span class="ldml-cite"&gt;¶45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; One such exception to the rule—recognized in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_31429"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Walder&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_31429"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;James&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; —&lt;span class="ldml-quotation quote"&gt;"permits prosecutors to introduce illegally obtained evidence &lt;i class="ldml-italics"&gt;for the limited purpose of impeaching the credibility of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s own testimony."&lt;/i&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="31429" data-sentence-id="31647" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_31429"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;James&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;493 U.S. at 312, 320&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that the impeachment exception to the exclusionary rule would not be expanded to permit &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to use illegally obtained evidence to impeach the testimony of defense witnesses other than &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="embeddedsentence_31979,sentence_31429"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Walder&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;347 U.S. at 65-66&lt;/span&gt;, &lt;span class="ldml-cite"&gt;74 S.Ct. 354&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; could impeach &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s credibility using suppressed evidence of unlawfully seized heroin where &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; asserted that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; never possessed any narcotics&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="32168" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="32168" data-sentence-id="32168" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32168"&gt;&lt;span class="ldml-cite"&gt;¶46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The majority reasons that this &lt;span class="ldml-quotation quote"&gt;"impeachment exception"&lt;/span&gt; does not apply to the facts here.&lt;/span&gt; &lt;span data-paragraph-id="32168" data-sentence-id="32261" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32168"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32168" data-sentence-id="32276" class="ldml-sentence"&gt;Of course it doesn't—because the suppressed evidence here is not impeachment evidence.&lt;/span&gt; &lt;span data-paragraph-id="32168" data-sentence-id="32363" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885725218" data-vids="885725218" class="ldml-reference" data-prop-ids="embeddedsentence_32442,sentence_32276"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Johnson&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;183 Cal. App. 4th 253, 283&lt;/span&gt;, &lt;span class="ldml-cite"&gt;107 Cal.Rptr.3d 228&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2010&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;&lt;i class="ldml-italics"&gt;("&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="embeddedsentence_32471,sentence_32276"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;James&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is inapposite here.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; did not authorize use of &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s]&lt;/span&gt; confession to impeach a witness.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Rather, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; considered the confession in order to prevent &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;]&lt;/span&gt; &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-id="pagenumber_32643" data-rep="P.3d" data-val="1164" data-vol="486"&gt;&lt;/span&gt; from extrapolating a false argument from truthful testimony.")&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="32168" data-sentence-id="32706" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="32707" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="32707" data-sentence-id="32707" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32707"&gt;&lt;span class="ldml-cite"&gt;¶47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"The &lt;i class="ldml-italics"&gt;sine qua non&lt;/i&gt; of impeaching a witness'&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; testimony is that the evidence &lt;i class="ldml-italics"&gt;contradicts&lt;/i&gt; his previous statements."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="32707" data-sentence-id="32826" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887525174" data-vids="887525174" class="ldml-reference" data-prop-ids="sentence_32707"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;LeMasters v. People&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;678 P.2d 538, 543&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32707" data-sentence-id="32897" class="ldml-sentence"&gt;Here, evidence of Johnson's positive GSR results would not have &lt;i class="ldml-italics"&gt;contradicted&lt;/i&gt; truthful witness testimony regarding Carrethers's positive GSR results.&lt;/span&gt; &lt;span data-paragraph-id="32707" data-sentence-id="33046" class="ldml-sentence"&gt;Nor would it have contradicted any testimony by Johnson himself, untruthful or not.&lt;/span&gt; &lt;span data-paragraph-id="32707" data-sentence-id="33130" class="ldml-sentence"&gt;In short, the suppressed evidence is not &lt;span class="ldml-quotation quote"&gt;"impeachment"&lt;/span&gt; evidence, and the majority's treatment of it as such leads it to miss the broader point of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_33130"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Walder&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_33130"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;James&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the case law&lt;/span&gt; on which &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are founded.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="33336" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="33336" data-sentence-id="33336" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33336"&gt;&lt;span class="ldml-cite"&gt;¶48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; That broader point is this: &lt;span class="ldml-entity"&gt;A defendant&lt;/span&gt; may not use the exclusionary rule as both a shield and a sword.&lt;/span&gt; &lt;span data-paragraph-id="33336" data-sentence-id="33444" class="ldml-sentence"&gt;While the exclusionary rule serves a deterrent function by requiring illegally obtained evidence to be suppressed in &lt;span class="ldml-entity"&gt;a prosecution&lt;/span&gt;'s case-in-chief, the protection it offers &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; must give way when &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; seeks to exploit the rule to frustrate or undermine the truthseeking function of a criminal trial.&lt;/span&gt; &lt;span data-paragraph-id="33336" data-sentence-id="33761" class="ldml-sentence"&gt;As the &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt; has explained:&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_33801" class="ldml-blockquote"&gt;&lt;span data-sentence-id="33801" class="ldml-sentence"&gt;It is one thing to say that the Government cannot make an affirmative use of evidence unlawfully obtained.&lt;/span&gt; &lt;span data-sentence-id="33908" class="ldml-sentence"&gt;It is quite another to say that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; can turn the illegal method by which evidence in the Government's possession was obtained to his own advantage, and provide himself with a shield against contradiction of his untruths.&lt;/span&gt; &lt;span data-sentence-id="34139" class="ldml-sentence"&gt;Such an extension ... would be a perversion of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34139"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/blockquote&gt;&lt;p data-paragraph-id="34207" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="34207" data-sentence-id="34208" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Walder&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;347 U.S. at 65&lt;/span&gt;, &lt;span class="ldml-cite"&gt;74 S.Ct. 354&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34245" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34245" data-sentence-id="34245" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34245"&gt;&lt;span class="ldml-cite"&gt;¶49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Ultimately, &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; must balance the deterrent effect of the exclusionary rule with &lt;span class="ldml-quotation quote"&gt;"the costs of withholding reliable information from the truth-seeking process."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="34245" data-sentence-id="34412" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887661868" data-vids="887661868" class="ldml-reference" data-prop-ids="sentence_34245"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Illinois v. Krull&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;480 U.S. 340, 347&lt;/span&gt;, &lt;span class="ldml-cite"&gt;107 S.Ct. 1160&lt;/span&gt;, &lt;span class="ldml-cite"&gt;94 L.Ed.2d 364&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34245" data-sentence-id="34489" class="ldml-sentence"&gt;Where, as here, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; seeks to introduce evidence that invites a jury to draw an indisputably false inference—specifically, a false inference that relies on the continued suppression of the illegally obtained evidence—the protection of the exclusionary rule must yield to the truthseeking goals of our legal system.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_34810" data-specifier="II" data-format="upper_case_roman_numeral" data-content-heading-label="II. The Trial Court Did Not Abuse Its Discretion" data-parsed="true" data-ordinal_end="2" id="heading_34810" data-ordinal_start="2" data-value="II. The Trial Court Did Not Abuse Its Discretion"&gt;&lt;span data-paragraph-id="34810" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="34810" data-sentence-id="34810" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="34810" data-sentence-id="34814" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Trial Court&lt;/span&gt; Did Not Abuse Its Discretion&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-id="heading_34858" data-specifier="A" data-format="upper_case_letters" data-content-heading-label="A. The Trial Court's Ruling was Consistent with the Doctrine of Completeness" data-parsed="true" data-ordinal_end="1" id="heading_34858" data-ordinal_start="1" data-value="A. The Trial Court's Ruling was Consistent with the Doctrine of Completeness"&gt;&lt;span data-paragraph-id="34858" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="34858" data-sentence-id="34858" class="ldml-sentence"&gt;A.&lt;/span&gt; &lt;span data-paragraph-id="34858" data-sentence-id="34861" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The Trial Court&lt;/span&gt;'s Ruling&lt;/span&gt; was Consistent with the Doctrine of Completeness&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="34934" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34934" data-sentence-id="34934" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34934"&gt;&lt;span class="ldml-cite"&gt;¶50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; did not abuse its discretion under &lt;span class="ldml-entity"&gt;the circumstances of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34934" data-sentence-id="35021" class="ldml-sentence"&gt;Under the concept of &lt;span class="ldml-quotation quote"&gt;"opening the door,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; has admitted evidence to &lt;span class="ldml-quotation quote"&gt;"prevent &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; or &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;]&lt;/span&gt; in a criminal trial from gaining and maintaining an unfair advantage by the selective presentation of facts that, without being elaborated &lt;span class="ldml-parenthetical"&gt;[upon]&lt;/span&gt; or placed in context, create an incorrect or misleading impression."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="34934" data-sentence-id="35357" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891482549" data-vids="891482549" class="ldml-reference" data-prop-ids="embeddedsentence_35408,sentence_35021"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Golob v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;180 P.3d 1006, 1012&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2008&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in limiting the scope of the defense expert's testimony because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; should have been allowed to contextualize &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; expert's testimony that their conclusions were consistent&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890940725" data-vids="890940725" class="ldml-reference" data-prop-ids="embeddedsentence_35679,sentence_35021"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Miller&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;890 P.2d 84, 98-99&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;allowing &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to introduce other crimes evidence where defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; had &lt;span class="ldml-quotation quote"&gt;"questioned &lt;span class="ldml-parenthetical"&gt;[a witness]&lt;/span&gt; in a manner that took selective advantage of evidence regarding &lt;span class="ldml-parenthetical"&gt;[the witness's]&lt;/span&gt; relationship with &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;]&lt;/span&gt; and sought to exclude the inadmissible &lt;span class="ldml-parenthetical"&gt;[other crimes]&lt;/span&gt; evidence that would place that relationship in its proper context"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888660548" data-vids="888660548" class="ldml-reference" data-prop-ids="embeddedsentence_36084,sentence_35021"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Sams&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;685 P.2d 157, 164&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[O]&lt;/span&gt;nce &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; opens the door by eliciting testimony about ... suppressed identifications, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; should not be foreclosed from eliciting additional testimony about these same procedures."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="34934" data-sentence-id="36289" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="36290" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="36290" data-sentence-id="36290" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36290"&gt;&lt;span class="ldml-cite"&gt;¶51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Similarly, the doctrine of completeness, codified in part in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, favors admission of evidence that contextualizes incomplete information that would otherwise be misleading to the jury.&lt;/span&gt; &lt;span data-paragraph-id="36290" data-sentence-id="36484" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889537009" data-vids="889537009" class="ldml-reference" data-prop-ids="sentence_36290"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Manyik&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2016 COA 42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36290"&gt;&lt;span class="ldml-cite"&gt;¶ 85&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889537009" data-vids="889537009" class="ldml-reference" data-prop-ids="embeddedsentence_36543"&gt;&lt;span class="ldml-cite"&gt;383 P.3d 77, 91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"If admitting only one part of a written or recorded statement would be unfair or misleading, the rule of completeness favors admission of other parts of the statement."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884830266" data-vids="884830266" class="ldml-reference" data-prop-ids="embeddedsentence_36792"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Lopez-Medina&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;596 F.3d 716, 735&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2010&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that the purpose of the identical federal version of the rule &lt;span class="ldml-quotation quote"&gt;"is to prevent &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; from misleading &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-id="pagenumber_36901" data-rep="P.3d" data-val="1165" data-vol="486"&gt;&lt;/span&gt; the jury by allowing into the record relevant portions of &lt;span class="ldml-parenthetical"&gt;[evidence]&lt;/span&gt; which clarify or explain the part already received"&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890847722" data-vids="890847722" class="ldml-reference"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Moussaoui&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;382 F.3d 453, 481&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;4th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="37097" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="37097" data-sentence-id="37097" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37097"&gt;&lt;span class="ldml-cite"&gt;¶52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Under the identical federal version of the rule, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37097"&gt;&lt;span class="ldml-cite"&gt;Fed. R. Evid. 106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;federal courts&lt;/span&gt; have admitted otherwise inadmissible evidence to correct a false impression created by incomplete testimony even where &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; did not affirmatively make a false argument.&lt;/span&gt; &lt;span data-paragraph-id="37097" data-sentence-id="37360" class="ldml-sentence"&gt;For example, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891116984" data-vids="891116984" class="ldml-reference" data-prop-ids="sentence_37360"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Womochil&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;778 F.2d 1311, 1315&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;8th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, a witness testified out of the presence of the jury that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s alleged co-conspirator obtained cocaine from &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; and another individual, Gilbert.&lt;/span&gt; &lt;span data-paragraph-id="37097" data-sentence-id="37605" class="ldml-sentence"&gt;On cross-examination, however, defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; asked the witness if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; obtained cocaine from Gilbert, leaving the false impression that the witness obtained cocaine only from Gilbert.&lt;/span&gt; &lt;span data-paragraph-id="37097" data-sentence-id="37789" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891116984" data-vids="891116984" class="ldml-reference" data-prop-ids="sentence_37605"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37097" data-sentence-id="37793" class="ldml-sentence"&gt;Although defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; did not expressly argue that the witness did not obtain cocaine from &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;U.S. Court of Appeals for the Eighth Circuit&lt;/span&gt; held that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; was properly allowed on redirect to correct this false impression by introducing the co-conspirator's complete statement that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; obtained cocaine from both Gilbert &lt;i class="ldml-italics"&gt;and&lt;/i&gt; &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37097" data-sentence-id="38160" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891116984" data-vids="891116984" class="ldml-reference" data-prop-ids="sentence_37793"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894648073" data-vids="894648073" class="ldml-reference" data-prop-ids="embeddedsentence_38239,sentence_37793"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Gov't. of V.I. v. Archibald&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;987 F.2d 180, 188&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;3d Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891116984" data-vids="891116984" class="ldml-reference" data-prop-ids="sentence_37793"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Womochil&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; involved the &lt;span class="ldml-quotation quote"&gt;"principle of completeness"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="38302" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="38302" data-sentence-id="38302" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38302"&gt;&lt;span class="ldml-cite"&gt;¶53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Here, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s ruling&lt;/span&gt; properly recognized that Johnson's effort to introduce evidence of Carrethers's GSR test results would &lt;span class="ldml-quotation quote"&gt;"open the door"&lt;/span&gt; to evidence of GSR testing and, under the doctrine of completeness, would require the jury to also hear evidence of Johnson's own test results.&lt;/span&gt; &lt;span data-paragraph-id="38302" data-sentence-id="38600" class="ldml-sentence"&gt;In its initial order, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; ruled that it would &lt;span class="ldml-quotation quote"&gt;"not permit inquiry by &lt;span class="ldml-parenthetical"&gt;[Johnson]&lt;/span&gt; that elicits the fact that &lt;span class="ldml-entity"&gt;Toni Carrethers&lt;/span&gt; was positive for gunshot residue which also then &lt;i class="ldml-italics"&gt;misleads the jury&lt;/i&gt; into believing either &lt;span class="ldml-parenthetical"&gt;[Johnson]&lt;/span&gt; was never tested for gunshot residue or &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was not positive for gunshot residue."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="38302" data-sentence-id="38909" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="38302" data-sentence-id="38927" class="ldml-sentence"&gt;Later, when ruling on the &lt;span class="ldml-entity"&gt;motion in limine regarding the same evidence&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; further explained that the jury would be left with the notion that only Carrethers, and not Johnson, was in an environment where a gun was fired, which is &lt;span class="ldml-quotation quote"&gt;"flat out contrary to what the true evidence is"&lt;/span&gt; and is &lt;span class="ldml-quotation quote"&gt;"tantamount to just being a &lt;i class="ldml-italics"&gt;half&lt;span class="ldml-parenthetical"&gt;[-]&lt;/span&gt;truth"&lt;/i&gt;&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"is completely misleading to the jury under the facts of this particular case."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="38302" data-sentence-id="39347" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="38302" data-sentence-id="39365" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; thus properly concluded that the &lt;span class="ldml-quotation quote"&gt;"jurors best get at the truth if &lt;span class="ldml-entity"&gt;they&lt;/span&gt; either hear that &lt;span class="ldml-parenthetical"&gt;[Carrethers]&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;[Johnson,]&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;[the victim's]&lt;/span&gt; &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; were all positive and in an environment where a gun was fired or none of it."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="38302" data-sentence-id="39598" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt;'s ruling&lt;/span&gt; was consistent with the purposes of the doctrine of completeness.&lt;a href="#note-fr_1" class="ldml-noteanchor" id="note-ref-fr_1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-id="heading_39683" data-parsed="true" data-types="trial,trialcourt" data-format="upper_case_letters" data-content-heading-label="B. The Trial Court's Ruling Is Consistent with CRE 403" data-specifier="B" data-confidences="medium,medium" data-ordinal_end="2" id="heading_39683" data-ordinal_start="2" data-value="B. The Trial Court's Ruling Is Consistent with CRE 403"&gt;&lt;span data-paragraph-id="39683" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="39683" data-sentence-id="39683" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="39683" data-sentence-id="39686" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The Trial Court&lt;/span&gt;'s Ruling&lt;/span&gt; Is Consistent with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="39737" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="39737" data-sentence-id="39737" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39737"&gt;&lt;span class="ldml-cite"&gt;¶54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt;'s ruling&lt;/span&gt; is also consistent with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="39737" data-sentence-id="39799" class="ldml-sentence"&gt;It found &lt;span class="ldml-quotation quote"&gt;"on a &lt;span class="ldml-parenthetical"&gt;[CRE]&lt;/span&gt; 403 analysis &lt;span class="ldml-parenthetical"&gt;[that]&lt;/span&gt; not to permit &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; to rebut &lt;span class="ldml-parenthetical"&gt;[Carrethers's positive GSR test results]&lt;/span&gt; with the true facts &lt;span class="ldml-parenthetical"&gt;[that Johnson also tested positively]&lt;/span&gt; would be completely misleading to the jury."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="39737" data-sentence-id="40018" class="ldml-sentence"&gt;It thus ruled that if Johnson introduced Carrethers's positive GSR test results, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; could also reveal Johnson's positive GSR test results.&lt;/span&gt; &lt;span data-paragraph-id="39737" data-sentence-id="40170" class="ldml-sentence"&gt;In so doing, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; did not abuse its discretion.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="40222" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="40222" data-sentence-id="40222" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40222"&gt;&lt;span class="ldml-cite"&gt;¶55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; CRE 403 allows relevant evidence to be excluded &lt;span class="ldml-quotation quote"&gt;"if its probative value is substantially outweighed by the danger of unfair prejudice, confusion of the issues, or &lt;i class="ldml-italics"&gt;misleading the jury."&lt;/i&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="40222" data-sentence-id="40411" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="40428" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="40428" data-sentence-id="40428" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40428"&gt;&lt;span class="ldml-cite"&gt;¶56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Here, the jury was already aware that Carrethers had handled the shell casings.&lt;/span&gt; &lt;span data-paragraph-id="40428" data-sentence-id="40512" class="ldml-sentence"&gt;Thus, the probative value of evidence that Carrethers tested positive for GSR is arguably minimal.&lt;/span&gt; &lt;span data-paragraph-id="40428" data-sentence-id="40611" class="ldml-sentence"&gt;However, introducing that evidence in isolation without informing the jury about Johnson's results also would have been &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-id="pagenumber_40731" data-rep="P.3d" data-val="1166" data-vol="486"&gt;&lt;/span&gt; affirmatively misleading because it invited the jury to draw the false inference that Johnson either tested negatively for GSR or was not tested at all &lt;span class="ldml-parenthetical"&gt;(perhaps due to a &lt;span class="ldml-quotation quote"&gt;"subpar"&lt;/span&gt; investigation)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40428" data-sentence-id="40927" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; therefore did not abuse its discretion when it concluded that the minimal probative value of introducing Carrethers's GSR results in isolation was substantially outweighed by the risk of misleading the jury.&lt;/span&gt; &lt;span data-paragraph-id="40428" data-sentence-id="41151" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890998083" data-vids="890998083" class="ldml-reference" data-prop-ids="embeddedsentence_41222,sentence_40927"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Morel&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;751 F. Supp. 2d 423, 431&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;E.D.N.Y.&lt;/span&gt; &lt;span class="ldml-date"&gt;2010&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that, under the identical &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40927"&gt;&lt;span class="ldml-cite"&gt;Fed. R. Evid. 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; could not reference the fact that the government initially declined to prosecute him because, without also introducing the constitutionally suppressed confession that caused &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to change its mind, it would create a substantial risk of misleading the jury into thinking that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; charged &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; for improper reasons&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="41634" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="41634" data-sentence-id="41634" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41634"&gt;&lt;span class="ldml-cite"&gt;¶57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Federal courts&lt;/span&gt; have observed the interplay between &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41634"&gt;&lt;span class="ldml-cite"&gt;Rule 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and the rule of completeness, explaining that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41634"&gt;&lt;span class="ldml-cite"&gt;Rule 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; can also be used to rectify the unfairness that the rule of completeness aims to prevent.&lt;/span&gt; &lt;span data-paragraph-id="41634" data-sentence-id="41843" class="ldml-sentence"&gt;One &lt;span class="ldml-entity"&gt;court&lt;/span&gt; explained that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41843"&gt;&lt;span class="ldml-cite"&gt;Rule 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_41876" class="ldml-blockquote"&gt;&lt;span data-sentence-id="41876" class="ldml-sentence"&gt;should not be overlooked when considering the implications of the rule of completeness ....&lt;/span&gt; &lt;span data-sentence-id="41968" class="ldml-sentence"&gt;If&lt;span class="ldml-parenthetical"&gt;[, for example,]&lt;/span&gt; allowing a government witness to testify only to &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s inculpatory statements, without being subject to cross&lt;span class="ldml-parenthetical"&gt;[-]&lt;/span&gt;examination about the exculpatory portions of the same statement &lt;span class="ldml-parenthetical"&gt;(because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are not independently admissible)&lt;/span&gt; would leave the jury with a misleading understanding of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s statement to the extent that it would cause unfair prejudice, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; may give the government a choice: either allow cross&lt;span class="ldml-parenthetical"&gt;[-]&lt;/span&gt;examination to provide a complete picture of what &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; said; or exclude the testimony of the incomplete portion of the statement.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="42557" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="42557" data-sentence-id="42558" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890404017" data-vids="890404017" class="ldml-reference"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Bailey&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;322 F. Supp. 3d 661, 673&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;D. Md.&lt;/span&gt; &lt;span class="ldml-date"&gt;2017&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42557" data-sentence-id="42623" class="ldml-sentence"&gt;That choice is similar to the one &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; provided Johnson here: either allow &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to provide a complete picture of the GSR results or exclude the incomplete GSR results.&lt;/span&gt; &lt;span data-paragraph-id="42557" data-sentence-id="42813" class="ldml-sentence"&gt;In other words, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; concluded that the jury could hear all of the GSR evidence, or none of it, but Johnson could not mislead the jury by introducing only evidence of Carrethers's GSR results.&lt;a href="#note-fr2" class="ldml-noteanchor" id="note-ref-fr2"&gt;2&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="43017" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="43017" data-sentence-id="43017" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43017"&gt;&lt;span class="ldml-cite"&gt;¶58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; was in the best position to assess the potential prejudicial impact of this evidence.&lt;/span&gt; &lt;span data-paragraph-id="43017" data-sentence-id="43123" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888731148" data-vids="888731148" class="ldml-reference" data-prop-ids="sentence_43017"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Wend v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;235 P.3d 1089, 1097&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo&lt;/span&gt; &lt;span class="ldml-date"&gt;2010&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887533660" data-vids="887533660" class="ldml-reference" data-prop-ids="embeddedsentence_43234,sentence_43017"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Gibbens&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;905 P.2d 604, 607&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43017"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; are given broad discretion in balancing the probative value of the evidence against the danger of unfair prejudice."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43017" data-sentence-id="43382" class="ldml-sentence"&gt;It did not abuse its broad discretion when it concluded that the introduction of Carrethers's GSR results, in isolation, would mislead the jury in violation of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and thus properly conditioned the introduction of that evidence on the admission of Johnson's GSR results.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_43657" data-specifier="III" data-format="upper_case_roman_numeral" data-content-heading-label="III. The Trial Court's Ruling Did Not Violate Johnson's Constitutional Rights" data-parsed="true" data-ordinal_end="3" id="heading_43657" data-ordinal_start="3" data-value="III. The Trial Court's Ruling Did Not Violate Johnson's Constitutional Rights"&gt;&lt;span data-paragraph-id="43657" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="43657" data-sentence-id="43657" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="43657" data-sentence-id="43662" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The Trial Court&lt;/span&gt;'s Ruling&lt;/span&gt; Did Not Violate Johnson's Constitutional Rights&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="43734" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="43734" data-sentence-id="43734" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43734"&gt;&lt;span class="ldml-cite"&gt;¶59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt;'s ruling&lt;/span&gt; did not violate Johnson's constitutional rights.&lt;/span&gt; &lt;span data-paragraph-id="43734" data-sentence-id="43812" class="ldml-sentence"&gt;As noted above, the &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[e]&lt;/span&gt;xclusion &lt;span class="ldml-parenthetical"&gt;[of illegally obtained evidence]&lt;/span&gt; is &lt;span class="ldml-quotation quote"&gt;‘not a personal constitutional right,’&lt;/span&gt; nor is it designed to &lt;span class="ldml-quotation quote"&gt;‘redress the injury’&lt;/span&gt; occasioned by an unconstitutional search."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="43734" data-sentence-id="44006" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891896053" data-vids="891896053" class="ldml-reference" data-prop-ids="sentence_43812"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;564 U.S. at 236&lt;/span&gt;, &lt;span class="ldml-cite"&gt;131 S.Ct. 2419&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895213289" data-vids="895213289" class="ldml-reference" data-prop-ids="sentence_43812"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Stone&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;428 U.S. at 486&lt;/span&gt;, &lt;span class="ldml-cite"&gt;96 S.Ct. 3037&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43734" data-sentence-id="44095" class="ldml-sentence"&gt;Instead, the &lt;span class="ldml-quotation quote"&gt;"sole purpose"&lt;/span&gt; of the rule &lt;span class="ldml-quotation quote"&gt;"is to &lt;i class="ldml-italics"&gt;deter&lt;/i&gt; future &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44095"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violations&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="43734" data-sentence-id="44185" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891896053" data-vids="891896053" class="ldml-reference" data-prop-ids="sentence_44095"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 236-37&lt;/span&gt;, &lt;span class="ldml-cite"&gt;131 S.Ct. 2419&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43734" data-sentence-id="44233" class="ldml-sentence"&gt;Accordingly, if &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; has no constitutional right to the exclusion of evidence, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; certainly has no constitutional right to thwart &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s truthseeking function by using the exclusionary rule as both a sword and a shield.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="44479" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="44479" data-sentence-id="44479" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44479"&gt;&lt;span class="ldml-cite"&gt;¶60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Notably, &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; prevent &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; from using the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44479"&gt;&lt;span class="ldml-cite"&gt;Fifth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; as both a sword and shield, even where their express constitutional privilege to avoid self-incrimination is implicated.&lt;/span&gt; &lt;span data-paragraph-id="44479" data-sentence-id="44670" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-id="pagenumber_44674" data-rep="P.3d" data-val="1167" data-vol="486"&gt;&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888157967" data-vids="888157967" class="ldml-reference" data-prop-ids="sentence_44479"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. $133,420.00 in U.S. Currency&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;672 F.3d 629, 640&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;9th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2012&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891233770" data-vids="891233770" class="ldml-reference" data-prop-ids="embeddedsentence_44843,sentence_44479"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. $148,840.00 in U.S. Currency&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;521 F.3d 1268, 1277&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2008&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt; &lt;span class="ldml-entity"&gt;district court&lt;/span&gt; may strike conclusory testimony if the witness asserts the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_45056,sentence_44479"&gt;&lt;span class="ldml-cite"&gt;Fifth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; privilege to avoid answering relevant questions, yet freely responds to questions that are advantageous to his cause.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;This doctrine exists to prevent &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; from converting the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_45240,sentence_44479"&gt;&lt;span class="ldml-cite"&gt;Fifth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; privilege from its intended use as a shield against compulsory self-incrimination into an offensive sword."&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citations omitted&lt;/span&gt;)&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="45261" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="45261" data-sentence-id="45261" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45261"&gt;&lt;span class="ldml-cite"&gt;¶61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Courts&lt;/span&gt; prevent this dual use &lt;span class="ldml-quotation quote"&gt;"to protect the integrity and truth-seeking function of the judicial system,"&lt;/span&gt; and do so by &lt;span class="ldml-quotation quote"&gt;"preventing &lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt; witness from using the privilege to &lt;span class="ldml-quotation quote"&gt;‘mutilate the truth &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; offers to tell.’&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="45261" data-sentence-id="45484" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;$133,420.00,&lt;/i&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888157967" data-vids="888157967" class="ldml-reference" data-prop-ids="sentence_45484"&gt;&lt;span class="ldml-cite"&gt;672 F.3d at 640-41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887513860" data-vids="887513860" class="ldml-reference" data-prop-ids="sentence_45484"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Lawson v. Murray&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;837 F.2d 653, 656&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;4th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45261" data-sentence-id="45580" class="ldml-sentence"&gt;Given that &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; may not use their express &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45580"&gt;&lt;span class="ldml-cite"&gt;Fifth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; constitutional privilege as both a sword and a shield, surely &lt;span class="ldml-entity"&gt;they&lt;/span&gt; may not exploit a judicially created rule to similarly thwart the truthseeking process of a criminal trial.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="45818" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="45818" data-sentence-id="45818" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45818"&gt;&lt;span class="ldml-cite"&gt;¶62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt;'s ruling&lt;/span&gt; likewise did not infringe on Johnson's &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45818"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; guarantee of &lt;span class="ldml-quotation quote"&gt;"a meaningful opportunity to present a complete defense."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="45818" data-sentence-id="45973" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/884602657" data-vids="884602657" class="ldml-reference" data-prop-ids="sentence_45818"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Holmes v. South Carolina&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;547 U.S. 319, 324&lt;/span&gt;, &lt;span class="ldml-cite"&gt;126 S.Ct. 1727&lt;/span&gt;, &lt;span class="ldml-cite"&gt;164 L.Ed.2d 503&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2006&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888721510" data-vids="888721510" class="ldml-reference" data-prop-ids="sentence_45818"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Crane v. Kentucky&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;476 U.S. 683, 690&lt;/span&gt;, &lt;span class="ldml-cite"&gt;106 S.Ct. 2142&lt;/span&gt;, &lt;span class="ldml-cite"&gt;90 L.Ed.2d 636&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45818" data-sentence-id="46145" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A defendant&lt;/span&gt; is deprived of this right only if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is denied &lt;span class="ldml-quotation quote"&gt;"virtually his only means of effectively testing significant &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; evidence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="45818" data-sentence-id="46288" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888440822" data-vids="888440822" class="ldml-reference" data-prop-ids="sentence_46145"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Krutsinger v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;219 P.3d 1054, 1062&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2009&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="46343" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="46343" data-sentence-id="46343" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46343"&gt;&lt;span class="ldml-cite"&gt;¶63 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; trial court&lt;/span&gt; may exclude defense evidence without infringing &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46343"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; rights&lt;/span&gt;, so long as the exclusion serves a legitimate purpose and is proportionate to the ends it is asserted to promote.&lt;/span&gt; &lt;span data-paragraph-id="46343" data-sentence-id="46560" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/884602657" data-vids="884602657" class="ldml-reference" data-prop-ids="sentence_46343"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Holmes&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;547 U.S. at 326&lt;/span&gt;, &lt;span class="ldml-cite"&gt;126 S.Ct. 1727&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="46343" data-sentence-id="46601" class="ldml-sentence"&gt;Notably, the &lt;span class="ldml-entity"&gt;U.S. Supreme Court in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884602657" data-vids="884602657" class="ldml-reference" data-prop-ids="sentence_46601"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Holmes&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; concluded that &lt;span class="ldml-quotation quote"&gt;"well-established rules of evidence permit trial judges to exclude evidence if its probative value is outweighed by ... &lt;span class="ldml-parenthetical"&gt;[the]&lt;/span&gt; potential to mislead the jury."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="46343" data-sentence-id="46816" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/884602657" data-vids="884602657" class="ldml-reference" data-prop-ids="sentence_46601"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="46343" data-sentence-id="46820" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;This court&lt;/span&gt; similarly has held that the right to present a defense is limited by evidentiary rules and that &lt;span class="ldml-quotation quote"&gt;"even relevant alternate suspect evidence may be excluded if its probative value is substantially outweighed by ... the danger of ... misleading the jury."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="46343" data-sentence-id="47083" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46820" data-refglobal="case:inrethepeopleofthestateofcoloradovelmarrcaseno14sa35351p3d431,2015co53june29,2015"&gt;&lt;span class="ldml-refname"&gt;Elmarr&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46820"&gt;&lt;span class="ldml-cite"&gt;¶ 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethepeopleofthestateofcoloradovelmarrcaseno14sa35351p3d431,2015co53june29,2015"&gt;&lt;span class="ldml-cite"&gt;351 P.3d at 438&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="47113" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="47113" data-sentence-id="47113" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47113"&gt;&lt;span class="ldml-cite"&gt;¶64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Here, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not actually preclude Johnson from introducing Carrethers's GSR test results; it merely warned him that if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; introduced it in a manner that would mislead the jury, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; would be allowed to introduce Johnson's own GSR test results.&lt;/span&gt; &lt;span data-paragraph-id="47113" data-sentence-id="47386" class="ldml-sentence"&gt;Johnson has no constitutional right to present evidence in an incomplete and misleading manner.&lt;/span&gt; &lt;span data-paragraph-id="47113" data-sentence-id="47482" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; merely faced a difficult strategic decision—whether the value of introducing Carrethers's GSR test results outweighed the admission of the otherwise excludable GSR evidence.&lt;/span&gt; &lt;span data-paragraph-id="47113" data-sentence-id="47665" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889196622" data-vids="889196622" class="ldml-reference" data-prop-ids="embeddedsentence_47721,sentence_47482"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Skufca&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;176 P.3d 83, 88-89&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2008&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that a &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; may constitutionally be required to make difficult strategic choices"&lt;/span&gt; and deeming the decision of whether to risk self-incrimination by testifying about drug transactions introduced in &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s case-in-chief a tactical choice, but not one implicating constitutional rights&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;a href="#note-fr3" class="ldml-noteanchor" id="note-ref-fr3"&gt;3&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="47113" data-sentence-id="48030" class="ldml-sentence"&gt;Finally, the choice Johnson faced did not prevent him from presenting an alternate suspect defense.&lt;/span&gt; &lt;span data-paragraph-id="47113" data-sentence-id="48130" class="ldml-sentence"&gt;Johnson presented evidence that Carrethers killed the victim because &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was in the apartment when the victim was shot, had tampered with evidence, made several implausible statements about not investigating the gunshots, and left the next day without checking on Johnson or the victim.&lt;/span&gt; &lt;span data-paragraph-id="47113" data-sentence-id="48417" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s ruling&lt;/span&gt; did not run afoul of Johnson's constitutional rights.&lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-id="pagenumber_48508" data-rep="P.3d" data-val="1168" data-vol="486"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_48508" data-parsed="true" data-types="conclusion" data-format="upper_case_roman_numeral" data-content-heading-label=" IV. Conclusion" data-specifier="IV" data-confidences="very_high" data-ordinal_end="4" id="heading_48508" data-ordinal_start="4" data-value="IV. Conclusion"&gt;&lt;span data-paragraph-id="48508" class="ldml-paragraph "&gt; &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="48508" data-sentence-id="48509" class="ldml-sentence"&gt;IV.&lt;/span&gt; &lt;span data-paragraph-id="48508" data-sentence-id="48513" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="48523" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="48523" data-sentence-id="48523" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_48523"&gt;&lt;span class="ldml-cite"&gt;¶65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt;rriving at the truth is a fundamental goal of our legal system."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="48523" data-sentence-id="48596" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_48523"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;James&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;493 U.S. at 311&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885135385" data-vids="885135385" class="ldml-reference" data-prop-ids="sentence_48523"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Havens&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;446 U.S. 620, 626&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 S.Ct. 1912&lt;/span&gt;, &lt;span class="ldml-cite"&gt;64 L.Ed.2d 559&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="48523" data-sentence-id="48728" class="ldml-sentence"&gt;And while the exclusionary rule is an example of a constitutional rule that limits the means by which the government may conduct this search for truth in order to promote other constitutional values, &lt;i class="ldml-italics"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_48728"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,&lt;/i&gt; the &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt; has carved out exceptions to the exclusionary rule &lt;span class="ldml-quotation quote"&gt;"where the introduction of reliable and probative evidence would significantly further the truthseeking function of a criminal trial and the likelihood that admissibility of such evidence would encourage police misconduct is but a &lt;span class="ldml-quotation quote"&gt;‘speculative possibility,’&lt;/span&gt; "&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_48728"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 311-12&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891685798" data-vids="891685798" class="ldml-reference" data-prop-ids="sentence_48728"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Harris&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;401 U.S. at 225&lt;/span&gt;, &lt;span class="ldml-cite"&gt;91 S.Ct. 643&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="49349" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="49349" data-sentence-id="49349" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49349"&gt;&lt;span class="ldml-cite"&gt;¶66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The majority holds today that &lt;span class="ldml-quotation quote"&gt;"a &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; may offer truthful, albeit potentially incomplete, evidence without opening the door to previously suppressed evidence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="49349" data-sentence-id="49517" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49349"&gt;&lt;span class="ldml-cite"&gt;Maj. op., ¶ 14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="49349" data-sentence-id="49533" class="ldml-sentence"&gt;In so doing, the majority effectively allows &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; to exploit the exclusionary rule by introducing incomplete evidence to mislead a jury, knowing that the information necessary to contextualize such evidence will remain suppressed.&lt;/span&gt; &lt;span data-paragraph-id="49349" data-sentence-id="49770" class="ldml-sentence"&gt;I am concerned that the majority's ruling undermines our legal system's fundamental goal of arriving at the truth, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885135385" data-vids="885135385" class="ldml-reference" data-prop-ids="sentence_49770"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Havens&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;446 U.S. at 626&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 S.Ct. 1912&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, by allowing &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; to wield the exclusionary rule as both a shield and a sword in ways directly contrary to the principles animating &lt;i class="ldml-italics"&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890476761" data-vids="890476761" class="ldml-reference" data-prop-ids="sentence_49770"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;James&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;i class="ldml-italics"&gt;, &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892623848" data-vids="892623848" class="ldml-reference" data-prop-ids="sentence_49770"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Walder&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;the case law&lt;/span&gt; on which &lt;span class="ldml-entity"&gt;they&lt;/span&gt; rely.&lt;/span&gt; &lt;span data-paragraph-id="49349" data-sentence-id="50122" class="ldml-sentence"&gt;Accordingly, I respectfully dissent.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="50158" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr1" class="ldml-notemarker" id="note-fr1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="50158" data-sentence-id="50159" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted certiorari to consider the following issue:&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_50213" class="ldml-blockquote"&gt;&lt;span data-sentence-id="50213" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-sentence-id="50216" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred in holding that the exclusionary rule precludes &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; from offering constitutionally suppressed evidence in response to defense-elicited truthful, yet incomplete evidence that may mislead the jury.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="50458" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_1" class="ldml-notemarker" id="note-fr_1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="50458" data-sentence-id="50459" class="ldml-sentence"&gt;Importantly, to determine whether evidence must be admitted under the rule of completeness, a &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;district court&lt;/span&gt; considers whether &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; it explains the admitted evidence, &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; places the admitted evidence in context, &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; &lt;i class="ldml-italics"&gt;avoids misleading the jury,&lt;/i&gt; and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; insures fair and impartial understanding of the evidence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="50458" data-sentence-id="50770" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888675691" data-vids="888675691" class="ldml-reference" data-prop-ids="sentence_50459"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Li&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;55 F.3d 325, 330&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;7th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="50458" data-sentence-id="50842" class="ldml-sentence"&gt;In other words, it is not enough that the introduced evidence is merely incomplete; the evidence must also have been introduced without the context necessary to avoid misleading the jury.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="51029" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr2" class="ldml-notemarker" id="note-fr2"&gt;2&lt;/a&gt; &lt;span data-paragraph-id="51029" data-sentence-id="51030" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt;'s concern was well-founded.&lt;/span&gt; &lt;span data-paragraph-id="51029" data-sentence-id="51074" class="ldml-sentence"&gt;The jury in fact submitted questions following Detective &lt;span class="ldml-entity"&gt;Mark Yacano&lt;/span&gt;'s testimony asking whether Johnson, his hands, or his clothing were tested for GSR and, if so, what were the results.&lt;/span&gt; &lt;span data-paragraph-id="51029" data-sentence-id="51261" class="ldml-sentence"&gt;Given &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s ruling&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; agreed that neither question should be asked.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="51344" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr3" class="ldml-notemarker" id="note-fr3"&gt;3&lt;/a&gt; &lt;span data-paragraph-id="51344" data-sentence-id="51345" class="ldml-sentence"&gt;Johnson contends that, because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had to choose between his right against illegal search and seizure and his right to present a defense, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; forced him to make a Hobson's choice involving &lt;span class="ldml-quotation quote"&gt;"an intolerable tension between two constitutional rights."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="51344" data-sentence-id="51605" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893913935" data-vids="893913935" class="ldml-reference" data-prop-ids="sentence_51345"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Chavez&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;621 P.2d 1362, 1365&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="51344" data-sentence-id="51662" class="ldml-sentence"&gt;However, as explained above, Johnson has no personal right under the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51662"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to exclude illegally obtained evidence, and his &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51662"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right to present a complete defense was not violated.&lt;/span&gt; &lt;span data-paragraph-id="51344" data-sentence-id="51866" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was not forced to choose between two constitutional rights.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;